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                                            Courtroom Minute Sheet
                                             Sentencing Proceedings
Date: 8/20/2018                                                     Case No. 1:17CR103RLW
UNITED STATES OF AMERICA V. BRANDON KEITH DONNER
Judge Ronnie L. White            Court Reporter Alison Garagnani        Probation Officer James Bearden
Plaintiff Attorney Tim J. Willis                    Defendant’s Attorney Michael A. Skrien
Deputy Clerk C. Gould                                 Interpreter

   Defendant/Parties present for imposition of sentence.
   Objections to Presentence Report heard and denied/granted as follows:



   Presentence Report adopted/accepted by the Court                             PSR filed under seal
   Sentence Imposed – See Judgment

  Defendant committed to BOP for a term of 96                       months as to Count(s) 1
to run   concurrent        consecutive for aggregate term of                     months. Supervised release
3                years as to Count(s) 1             to run   concurrent       consecutive for an aggregate term of
                   years supervised release. Standard conditions. Special Conditions:
See Judgment.




   Fine Waived. Special Assessment: $100.00           Fine:                   Restitution:
   Count(s)                                        dismissed on Motion of AUSA
   Defendant remanded to custody of USMS.
   Defendant granted a voluntary surrender to the institution/USMS for incarceration as notified by USMS.
Surrender date
   Court makes the following recommendation to BOP:




    Defendant is released on Probation pending processing by USMS:


Witnesses:
   Exhibits returned to and retained by counsel


                       Courtroom time: 10:20 a.m.             to 10:35 a.m.
